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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

LEODIS RANDLE                                                                    PLAINTIFF

v.                                 4:20-cv-01086-JM-JJV

DOE, et al.                                                                   DEFENDANTS


                                        JUDGMENT

       Consistent with the Order entered separately today, this case is DISMISSED WITHOUT

PREJUDICE, and this case is CLOSED. It is certified that an in forma pauperis appeal from this

Judgment would not be taken in good faith. 28 U.S.C. § 1915(a)(3).

       Dated this 30th day of November, 2020.




                                                       ________________________________
                                                       UNITED STATES DISTRICT JUDGE
